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1    patent-like obviousness analysis does not show the trade secret is generally known
2    under CUTSA. Apple’s expert never addresses the trade secrets as a whole, much less
3    how the trade secrets are generally known under any proper legal standard. Moreover,
4    Apple’s argument is inconsistent with Apple’s actions. Apple hired Lamego and then
5    sought a patent claiming for itself exclusive rights to the       techniques. Apple and
6    Lamego represented to the Patent Office that the              techniques were novel and
7    nonobvious. Thus, as a matter of law, Apple cannot establish that trade secrets D-9
8    through D-15 were generally known.
9                                II. FACTUAL BACKGROUND
10   A.       Masimo Developed Industry-Leading Proprietary Technology
11            In 1989, Joe Kiani started Masimo Corp. in his condominium. Today, Kiani
12   serves as CEO of Masimo, the technology leader in noninvasive physiological
13   monitoring. Masimo Corp. is a publicly traded company that employs 6,300 people
14   and has annual healthcare revenues exceeding one billion dollars.              This growth
15   followed Masimo’s development of a range of technologies that revolutionized
16   noninvasive physiological monitoring. Masimo’s innovative technology allows more
17   accurate noninvasive measurement of physiological parameters such as pulse rate,
18   arterial oxygen saturation, and many others. Kiani Decl. ¶4; Diab Decl. ¶¶2, 31. In
19   1998, Masimo Corp. spun off certain technologies into Cercacor. Kiani Decl. ¶3.
20   Cercacor and Masimo Corp. cross-license technologies to each other and confidentially
21   collaborate on development. Kiani Decl. ¶3; Hammarth Decl. ¶6; Ex. 12.1
22            Hospitals recognize Masimo’s noninvasive physiological monitoring technology
23   as industry leading. Masimo estimates its technology is used to monitor more than 200
24   million patients worldwide annually.         Kiani Decl. ¶5.     For some noninvasive
25   parameters, Masimo is the only provider of such technology. Id. Masimo owns
26   patents on some of its technology and maintains other technology as trade secrets.
27   1
         All exhibits referenced herein are attached to the Loebbaka Declaration.
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1    Kiani Decl. ¶4.
2    B.    Lamego Learns Masimo’s             Trade Secrets
3          In 2000, Lamego joined Masimo Corp. as an algorithm development engineer.
4    Loebbaka Decl., Ex. 17 at 29:13-16. Before he worked at Masimo, Lamego had no
5    experience developing patient monitoring technology. Kiani Decl. ¶9.
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11         Lamego and Diab worked on rainbow® technology. Diab Decl. ¶32. Masimo’s
12   rainbow® sensors have multiple LEDs
13                                                                    Id. That light passes
14   through patient tissue and then to a detector. Id. ¶¶2, 4-6. The detector outputs a
15   signal based on the amount of light that reaches it. Id. ¶5. The signal may also include
16   unwanted information from other sources such as ambient light. Id. ¶7.
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19                                  creating multiple signals from the detector signal. Id.
20   ¶¶10, 13-18. Each                signal has information from all of the LEDs. Id. ¶18.
21                       the process of extracting the content corresponding to a particular
22   LED from the multiple demodulated signals. Id. ¶18-19. Ideally, a
23   signal for a particular LED does not include data from the other LEDs. Id. ¶7.
24               refers to a                 signal for a particular LED that undesirably
25   includes data from other LEDs. Id.
26
27   Id. ¶30-31; Kiani Decl. ¶7. Those techniques are described in Section IV.A.1, below.
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1          Lamego was part of the team working on those techniques. Diab Decl. ¶32. In
2    presenting aspects of the          trade secrets to Kiani, Lamego explained why the
3    improvement                        Ex. 1 at -690. Lamego rose through the ranks and
4    ultimately became the CTO of Cercacor.           Kiani Decl. ¶9.    Contrary to Apple’s
5    arguments, Lamego emphasized these aspects of the                  trade secrets are
6               Ex. 1 at -690.
7    C.    Apple Sought to Obtain Masimo’s Technology
8                       Apple began its physiological monitoring technology development
9    efforts. Ex. 21                   Apple’s goal was to
10                               Ex. 19, Hotelling Dep. Tr. at 36:19-37:6; Ex. 20.      Apple
11   identified Masimo as a                  Ex. 21 at -191.
12         By January 2013, Apple refined its plans to                               . Apple
13   now sought to identify
14                                                 Ex. 22 at -106. Apple planned to
15                                                                                  Id. Apple
16   identified Masimo Corp. and Cercacor as                                                .
17   Ex. 20 at -774; Ex. 22 at -109
18
19         Apple decided to reach out to Masimo. Adrian Perica (Apple’s VP for corporate
20   acquisitions) told Masimo that
21                                    Ex. 23 at -627. Perica indicated Apple wanted to
22                                                                Id. Apple then met with
23   Masimo in May 2013. Kiani Decl. ¶18.
24         In June 2013, Tim Cook, Apple CEO, asked Perica
25                                                                      Ex. 24 at -708. Cook
26   told Perica that
27                 Id. Perica responded that
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1                                                                                     Kiani
2    Decl. ¶20.
3          Apple then continued recruiting Masimo employees, including
4                        Ex. 32.
5                         Ex. 33 at 16-18, 27.
6    D.    Lamego Disclosed Masimo’s              Trade Secrets To Apple
7          After Lamego joined Apple, Masimo wrote to Apple explaining that Lamego
8    possessed Masimo’s trade secrets and that Apple should refrain from obtaining them
9    through Lamego. Ex. 34. Notwithstanding warnings from Masimo                          ,
10   Apple quickly used Lamego to learn about Masimo’s trade secrets.
11         By June 30, 2014, Lamego had already
12                             Ex. 35 at -531.
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14                                                                         Id.
15                                                                                       Id.
16   On July 11, 2014, Lamego left Apple. Ex. 33 at 18.
17   E.    Apple Filed Patents On Masimo’s             Trade Secrets
18         In September 2014, Apple confidentially filed one of the twelve applications
19   with the Patent Office.
20           The application named Lamego as the sole inventor. Id. at -794. Apple then
21   requested the Patent Office refrain from publishing the patent application before
22   issuance. Ex. 37 at -839. Thus, the Patent Office did not publish the application until
23                                                                                       As
24   explained in greater detail below,                                                    .
25   Madisetti Decl. ¶100–09, 154, 173, 182, 190–91, 198, 204.
26   F.    Masimo’s Motion For A Preliminary Injunction on Its             Trade Secrets
27         In August 2020, Masimo moved for a preliminary injunction, arguing that Apple
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1    or disclosure. Cal. Civ. Code § 3426.1(b).
2                                     IV. ARGUMENT
3    A.    Masimo’s         Techniques Are Trade Secrets
4          1.    Masimo Developed the             Techniques
5          Masimo created and developed the            techniques recited in Trade Secrets
6    D-9 through D-15.2 Masimo Corp. conceived of the techniques and Cercacor refined
7    them. Masimo exposed Lamego to its           trade secrets during Lamego’s many years
8    of employment.    Masimo laboratory notebooks, correspondence, and source code
9    document these development efforts.
10               a.     Trade Secrets D-9, D-10, and D-13
11         Masimo developed and possessed Trade Secrets D-9, D-10, and D-13. See
12   Ex. 67 (quoting trade secrets). Masimo began working on            techniques before
13   2000. In the early 2000s,
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26     Ex. 67 lists the text of Trade Secrets D-9 through D-15. The Madisetti declaration
     sets forth detailed analysis of Masimo Corp.’s and Cercacor’s possession and Apple’s
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     misappropriation of Trade Secrets D-9 through D-15.
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1    exploit it to the relative disadvantage of the original owner. Yield Dynamics, Inc. v.
2    TEA Systems Corp., 154 Cal. App. 4th 547, 568 (2007).
3          Masimo invested significant resources over many years to develop this
4    confidential technology. See Diab Decl. ¶31; Kiani Decl. ¶7. Masimo’s             trade
5    secrets are valuable because they enabled Masimo to provide many of its blood
6    constituent parameters.     Diab Decl. ¶31.      These trade secrets made Masimo’s
7    technology possible by
8             and improved the accuracy of Masimo’s physiological monitoring, which
9    gives Masimo an advantage over its competitors. Id.; Kiani Decl. ¶7.
10         Masimo’s          trade secrets are also valuable because they were not generally
11   known to others. Masimo’s witnesses and technical expert confirm that Trade Secrets
12   D-9 through D-15 were not generally known. Diab Decl. ¶30-31; Madisetti Decl.
13   ¶¶130-153, 175-187, 194-197, 203-206, 211-214, 218-220, 224-226.
14         Moreover, Lamego’s statements at the time of development and at the time of
15   misappropriation show he believed this information was not generally known. For
16   example, while at Masimo, Lamego
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21                   Lamego’s acts show that the         techniques were true breakthroughs
22   and not generally known.
23         Apple’s conduct also supports that Masimo’s trade secrets were not generally
24   known.             Apple filed the U.S. provisional patent application that led to the
25                             During prosecution, Apple emphasized the importance and
26   novelty of the Masimo          techniques that Apple misappropriated. After the Patent
27   Office initially rejected the claims
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1    trade secret across various publications and applying a patent-like obviousness analysis
2    does not show the trade secret is generally known under CUTSA. See Imi-Tech Corp.
3    v. Gagliani, 691 F. Supp. 214, 231 (S.D. Cal. 1986) (“The defendants’ attempts to
4    show that Imi-Tech’s alleged trade secrets were known in the prior art also fail to
5    provide a defense for the defendants, since it is not required that a trade secret be
6    patentably nonobvious or novel.”).       This is because “‘obviousness’ is not the
7    benchmark” in trade secret actions. Am. Can Co. v. Mansukhani, 728 F.2d 818, 819
8    (7th Cir. 1982). Thus, Apple’s reliance on Sarrafzadeh fails to raise a genuine issue of
9    material fact.
10         3.     Masimo Took Reasonable Steps to Maintain the Secrecy of its Trade
11                Secrets
12         “[A] business is not required to turn itself into an ‘impenetrable fortress’ to
13   protect its trade secrets.” Pyro Spectaculars N., Inc. v. Souza, 861 F. Supp. 2d 1079,
14   1091 (E.D. Cal. 2012) (quoting E.I. duPont deNemours & Co. v. Christopher, 431 F.2d
15   1012, 1017 (5th Cir.1970)). Reasonable efforts to maintain secrecy “may include
16   advising employees of the existence of a trade secret, limiting access to the trade
17   secrets on a need to know basis, requiring employees to sign confidentiality
18   agreements, and keeping secret documents sequestered under lock and key.” Brocade
19   Commc’ns Sys., Inc. v. A10 Networks, Inc., No. C 10-3428 PSG, 2013 WL 831528, at
20   *18 (N.D. Cal. Jan. 10, 2013); see also Pyro Spectaculars N., Inc. v. Souza, 861 F.
21   Supp. 2d 1079, 1091 (E.D. Cal. 2012); U.S. v. Chung, 659 F.3d 815, 825 (9th
22   Cir. 2011); Morlife, 56 Cal. App. 4th at 1523.
23         Masimo maintains the confidentiality of its        trade secrets. Diab Decl. ¶30-
24   31.    For example, Masimo requires that employees, including Lamego, sign
25   agreements requiring them to preserve the secrecy of Masimo’s confidential
26   information. Ex. 41, Miller Dep. Tr. at 16:10-17:8, 23:2-11, 25:24-27:19, 29:5-8;
27   Ex. 42, Hammarth Dep. Tr. at 125:21-126:14; Kiani Decl. ¶6; Hammarth Decl. ¶9-14;
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1    Miller Decl. ¶¶5, 7-8, 12-16; Exs. 9-11, 13.       Masimo also restricts access to its
2    electronically stored information to employees whose responsibilities require access to
3    such information. Hammarth Decl. ¶¶19-24; Muhsin Decl. ¶6, 10. Masimo also has
4    written policies and employee handbooks instructing employees how to handle
5    computer resources to ensure that its systems remain secure and its information stays
6    protected.    Exs. 3-7, 14, 15; Hammarth Decl. ¶¶15-18; Muhsin Decl. ¶¶7-12.
7    Moreover, Masimo physically restricts its facilities by requiring key-card access to
8    restricted areas and logging visitors. Hammarth Decl. ¶¶26-28; Muhsin Decl. ¶¶4-5.
9    When employees depart, Masimo conducts exit interviews where it reminds them of
10   their confidentiality obligations. Hammarth Decl. ¶¶29-31; Miller Decl. ¶9-10; Ex. 16.
11         Moreover, when Lamego transferred the Pronto-7 source code files to Masimo,
12   he instructed that
13                  Ex. 43 at -037.     Masimo also alerted Apple that Lamego possessed
14   Masimo’s trade secrets and warned Apple to respect its trade secrets.            Ex. 34.
15   Masimo’s measures were more than reasonable under CUTSA.
16   B.    Apple Misappropriated Masimo’s Trade Secrets
17         Apple misappropriated Masimo’s trade secrets under all three grounds:
18   acquisition, use, or disclosure.
19         1.     Apple Misappropriated Masimo’s Trade Secrets by Acquisition
20         Misappropriation by acquisition occurs when a party acquires a trade secret of
21   another when the party “knows or has reason to know that the trade secret was
22   acquired by improper means.” Cal. Civ. Code § 3426.1(b)(1). “Improper means”
23   includes “breach or inducement of a breach of a duty to maintain secrecy . . . .” Id.
24         Even before Apple hired Lamego,
25                                                         Ex. 29 at -007. In January 2014,
26   Masimo sent a letter also warning Apple that Lamego possessed Masimo’s trade
27   secrets and was obligated to maintain their secrecy. Ex. 34. Despite those warnings,
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           Lamego worked on the same process at Masimo. Madisetti Decl. ¶¶72-82. The
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     following diagram from Poeze’s notebook in 2008 shows the same process.
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           disclosed the process Lamego helped develop at Masimo.
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     Dr. Madisetti carefully compared those claims to Masimo’s development and explains
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1    that Apple used and disclosed D-10 through D-15 in those claims. Madisetti Decl. ¶6.
2          Apple named Lamego as the sole inventor                           . Thus, Apple
3    cannot genuinely dispute that Lamego was the source of the information in
4               . Apple also cannot assert it had express or implied consent to use or
5    disclose the      trade secrets.
6    C.    Apple’s Misappropriation Harmed Masimo
7          Masimo faces an ongoing threat that Apple will further use, disclose, and
8    destroy Masimo’s trade secrets. Apple claimed Masimo’s trade secrets as its own.
9    Apple exacerbated the harm by maintaining those patent rights and failing to transfer
10   them to Masimo. Thus, Apple eventually could try to prevent Masimo from practicing
11   its own trade secrets. Indeed, Apple recently filed two suits in Delaware alleging that
12   Masimo infringes other Apple patents.
13         Apple’s patent publication also puts Masimo’s trade secret at risk of discovery
14   by others. Many in Masimo’s industry know that Lamego was at Masimo and became
15   the CTO of Cercacor. Kiani Decl. ¶8. Given Masimo’s status as the undisputed
16   industry leader, disclosures of patient monitoring technology by Cercacor’s former
17   CTO would be of particular interest to competitors.
18         Apple’s misappropriation of trade secrets also caused a chilling effect on the
19   free sharing of ideas within Masimo. Id. This will negatively affect innovation in the
20   whole industry, given Masimo’s reputation as the innovator in the field. Id.
21         Protecting Masimo’s intellectual property is essential for Masimo’s survival. Id.
22   Masimo places significant value on the trade secrets in this case because they provide a
23   competitive advantage.     Id.     Thus, Apple harmed Masimo by misappropriating
24   Masimo’s        trade secrets.
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1                                     V. CONCLUSION
2          For the foregoing reasons, this Court should grant partial summary judgment
3    that Apple misappropriated Masimo’s                                   trade secrets
4    as set forth in Trade Secrets D-9 through D-15.
5
6
7                                            Respectfully submitted,
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9
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17                                                Attorneys for Plaintiffs
                                                  MASIMO CORPORATION and
18                                                CERCACOR LABORATORIES, INC.
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1                                  CERTIFICATE OF COMPLIANCE
2               The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 6,914 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
6
7    Dated: December 19, 2022                   By: /s/ Kendall M. Loebbaka
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9                                                    Perry D. Oldham
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15                                                      CERCACOR LABORATORIES, INC.
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